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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

______________________________________________________________ X

STEVEN KRASNER, ALIS ON KRASNER,

MICHELE TELLONE a/k/a Mike Tellone, : ORDER

TAMIE TELLONE, DAVID FIEDERLEIN,

individually and as Trustee for the

FIEDERLEIN FAMILY LTD PARTNERSHIP,

and BARBARA FIEDERLEIN, : ll CV 4092 (VB)
Plaintiffs, '

V.

RANDAL KENT HANSEN,
Defendant.
__ ___ __ ________________________ X
DlETMAR ROSE, KUPIAN FROLOV,
HAROLD RODENBEIKER, TOM
SCHNEIDER, DAVID PETERSON, LEWIS
NORMAN FERRIER, GARY FRITZ, MERLE .
GILBERTSON, JAMES KELLER, DORAYN : 13 CV 5804 (VB)
KEMMITZ,, PAULA KOCHON, RALPH
MARTIN, J'OHN VIGLUCCI, JR.,

 

 

 

Plaintiffs,
v.
RANDAL KENT HANSEN,
Defendant.

______________________________________________________________ X

The only claims remaining in these related cases are those against defendant Randal Kent
Hansen, Which Were stayed during the pendency of bankruptcy proceedings, pursuant to ll
U.S.C. § 362. On March 7, 2017, the Couit thus ordered plaintiffs’ counsel to advise the Court
by' letter of the status of defendant Hansen’s bankruptcy proceedings and Whether the claims
against him should be dismissed and the case closed.

Pursuant to Couit orders, plaintiffs’ counsel provided status reports by letters dated
March 15, 2017, June 9, 2017, September 19, 2017, and December l9, 2017, requesting the

matter be kept open against Hansen as Hansen’s bankruptcy proceedings were still ongoing.

 

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On December 19, 2017, the Court ordered plaintiffs’ counsel to provide another status
update regarding the bankruptcy proceedings by March 19, 2018-_as the Court had done in
response to all of plaintiffs’ counsel’s previous status updates.

Plaintiffs’ counsel failed to provide a status update by March 19, 2018. Thus, on April
25, 2018, the Court extended plaintiffs’ counsel’s time to provide further update to May 4,
2018.l

To date, the Court has not received any status update or submission of any kind from
plaintiffs’ counsel.

Plaintiffs’ counsel having ignored multiple Court orders, the Court concludes that
plaintiffs have abandoned these cases. Accordingly, these cases are DISMISSED WITHOUT
PREJUDICE for failure to prosecute and failure to comply With Court orders. §_ee Fed. R. Civ.
P. 41(b).

The Clerk is instructed to close these cases.

Dated: June 4, 2018
White Plains, NY

SO ORDERED:

i…d

Vincent L. Briccetti
United States District Judge

 

 

l The April 25, 2018, Order Was docketed in Cae No. 11 CV 4092, but not 13 CV 5804.
However, plaintiffs’ counsel is the same in both cases, and the Order clearly applied to both
cases.

